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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
UNITED STATES OF AMERICA
v. NO, 3:21-CR-435-N
FREDERICK ORJI (07)
FACTUAL RESUME

In support of Frederick Orji’s plea of guilty to the offense in Count One of the
indictment, Orji, the defendant, Taly Haffar, the defendant’s attorney, and the United
States of America (the government) stipulate and agree to the following:

ELEMENTS OF THE OFFENSE

To prove the offense alleged in Count One of the indictment, charging a violation
of 18 U.S.C. § 1349, that is, Conspiracy to Commit Wire Fraud, the government must
prove each of the following elements beyond a reasonable doubt:!

First, That the defendant and at least one other person made an agreement
to commit the crime of wire fraud as charged in the indictment; and

Second. That the defendant knew the unlawful purpose of the agreement and
joined in it willfully, that is, with the intent to further the unlawful

purpose.

The elements of wire fraud, in violation of 18 U.S.C. § 1343, are as follows:?

First. That the defendant knowingly devised or intended to devise a

! Adapted from Fifth Circuit Pattern Juty Instruction 2.15 (Sth Cir. 2019) (Conspiracy to Commit
Offense, 18 U.S.C. § 371), 18 U.S.C. § 1349, and United States v. Jones, 733 F.3d 574, 584 (St Cir,
2013) (stating “Section 1349 does not contain an overt-act requirement”).

2 Fifth Cirouit Pattern Jury Instruction 2.57 (5th Cir, 2019),

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scheme to defraud as charged in the indictment, that is to
fraudulently induce romance scam victims to make wire transfers
into his and his co-conspirators’ bank accounts;

Second, That the scheme to defraud employed false material representations,
false material pretenses, and false material promises;

Third. That the defendant transmitted or caused to be transmitted by way of
wire communications, in interstate commerce, any writing, sign, .
signal, picture, or sound for the purpose of executing such scheme; —
and

Fourth. That the defendant acted with a specific intent to defraud.

' STIPULATED FACTS

Frederick Orji admits and agrees that:

1. Beginning at least as early as January 24, 2017, and continuing through at
least July 11, 2017, within the Northern District of Texas, Dallas Division, and
elsewhere, Frederick Orji knowingly and willfully combined, conspired, confederated,
and agreed with others known and unknown to the grand jury, to commit the following
offense, namely, to knowingly and willfully devise a scheme and artifice to defraud and
to obtain money and property by means of materially false and fraudulent pretenses,
representations, and promises, and for the purpose of executing and attempting to execute
the scheme to defraud did knowingly and willfully transmit and cause to be transmitted
by means of wire communication in interstate and foreign commerce writings, signs,
signals, pictures, and sounds, specifically, wire transfers of funds from romance scam
victims into his and his co-conspirators’ bank accounts, in violation of 18 U.S.C. §§ 1349

and 1343.

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2. Frederick Orji further admits that from January to July 2017, he and his co-
conspirators made materially false and fraudulent pretenses, representations, and
promises to individuals they targeted on dating websites about their identities to induce

the targets of the romance scams to send them funds and that they used the proceeds

received from the romance scams for their own benefit and for purposes other than those
represented to the romance scam victims,

3. Frederick Orji further admits that it was part of the conspiracy and scheme
and attifice to defraud, and among the manner and means by which he and his co-
conspirators carried out the conspiracy, that:

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a. co-conspirators targeted older, often widowed or divorced
individuals, with savings, as romantic interests on dating websites such
as Bumbledate.com and Match.com;

b, At least one of the co-conspirators created false and fraudulent identities
and backgrounds on dating websites to appear to be individuals living in
the United States to gain the romance victims’ confidence and trust;

c. Atleast one of the co-conspirators often communicated with their
romance scam victims through the dating websites as well as via email
and text but never met their victims in person;

d. After developing the romance victims’ confidence and trust, at least one
of the co-conspirators falsely and fraudulently claimed that they had to
travel abroad for business and then falsely and fraudulently claimed

they were unable to access their bank accounts in the United States;

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. At least one of the co-conspirators then directed the romance scam

victims to send money to specific accounts under false and fraudulent
pretenses;

f. He and his co-conspirators typically removed the funds received from

romance scams victim from the account that initially received them
within days by making cash withdrawals, buying cashier’s checks, or
transferring the funds to other accounts;

g. Once a romance scam victim had sent money to one co-conspirator, that
victim was often instructed to send money to other co-conspirators;

h. After he and his co-conspirators depleted the victims of all funds the
victims were able and willing to send, often depleting victims’ of their
entire savings, the co-conspirators stopped communicating with the
victims.

4, Frederick Oxji admits that it was part of the conspiracy and scheme and
artifice to defraud, and among the manner and means by which he and his co-conspirators
carried out the conspiracy, that:

a. On or about March 23, 2017, one or more conspirators using the name
“Wayne Power,” who was purportedly working on an oil rig in Alaska,
caused victim JSK, met through dating website Bumble.com, to wire
$40,000 from her Wells Fargo bank account ending in 9516 in Santa
Barbara, California, to an account ending in 1122 held at Citibank, NLA.

in Brooklyn, New York, in the name of UFO Trading whose sole

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signatory is Frederick Orji, purportedly for “Additional Parts and
Expertise”;
b. Qn or about March 27, 2017, Frederick Orji wired $37,000 from his

UFO Trading account at Citibank to a different UFO Trading account he

controlled at Wells Fargo ending in 5588;

c, On ot about March 28, 2017, in two separate $10,000 transactions,
Frederick Orji withdrew a total of $20,000 from his Wells Fargo ending
in 5588 from the Wells Fargo branch located at 2000 N. Collins St.,
Arlington, Texas, within the Northern District of Texas;

d. On or about March 30, 2017, Frederick Orji withdrew another $14,000,
from his Wells Fargo ending in 5588 from the Wells Fargo branch
located at 2000 N. Collins St., Arlington, Texas, within the Northern
District of Texas;

e. On or about June 5, 2017, one or more conspirators using the name
“Wayne Power,” caused a different victim whose initials are JDK, met
through Bumble.com, to wire $35,000 from her Bank of America bank
account ending in 2149 in Fountain Valley, California, to an account
ending in 1122 held at Citibank, N.A. in Brooklyn, New York, in the
name of UFO Trading (and nicknamed Wayne Enterprises LLC) whose

sole signatory is Frederick Orji, purportedly to pay for “tents.”

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f On or about June 7, 2017, Frederick Orji sent a wire $29,750 from !
account ending in 1122 to an account ending 3250 held at Houston
Federal Credit Union in Sugarland, Texas, in the name of “Bunsunad.”

g. On or about June 9, 2017, one or more conspirators using the hame

“Wayne Power” caused victim JDK to wire $10,000 from her Bank of
America bank account ending in 2149 in Fountain Valley, California, to
an account ending in 1122 held at Citibank, N.A. in Brooklyn, New
York, in the name of UFO Trading (and nicknamed Wayne Enterprises
LLC) whose sole signatory is Frederick Orji, purportedly to pay for
more tents,
h. On or about June 12, 2017, Frederick Orji wired $6,100 from his
Citibank account ending in 1122 to an account ending 9165 held at
Bank of America in Brooklyn, New York, in the name of “chika peace
madu.” On June 14, 2017, Frederick Orji wired $7,598 from the
account ending in 1122 to an account ending 3250 held at Houston
Federal Credit Union in Sugarland, Texas, in the name of “Bunsunad.”
5. Frederick Orji further admits that he knew there was an agreement to
commit wire fraud and that he joined in it willfully, with the intent to further its unlawful
purpose.
6. Frederick Orji further admits that the scheme to defraud as described herein

was executed through sophisticated means.

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7. Frederick Orji admits that, during the conspiracy, he defrauded victims of
at least $233,587.92, which represents proceeds of the artifice and scheme to defraud.
8. The defendant agrees that the defendant committed all the essential

elements of the offense. This factual resume is not intended to be a complete accounting

of all the facts and events related to the offense charged in this case. The limited purpose
of this statement of facts is to demonstrate that a factual basis exists to support the

defendant’s guilty plea to Count One of the indictment.

AGREED TO AND SIGNED this/, b day of Yay , 2022.

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ee, Z Lblio

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